                                                                     FILED: 9/2/2022 7:31 PM
     Case
      Case4:22-cv-00868-SDJ
           4:22-cv-00868 Document
                            Document
                                  1-4 2 Filed
                                         Filed10/10/22
                                               10/11/22 Page
                                                         Page1 1ofof1010PageID
                                                                         PageID#:#:1038
                                                                     David Trantham
                                                                               Denton County District Clerk
                                                                               By: Raquel Gonzalez, Deputy

                                            22-7474-211
                                 CAUSE NO. __________________

STACEY LIVINGSTON,                                §     IN THE DISTRICT COURT OF
                                                  §
          Plaintiff,                              §
                                                  §
v.                                                §
                                                  §     ________ JUDICIAL DISTRICT
HIDDEN COVE HOMEOWNERS’                           §
ASSOCIATION, INC., and                            §
DENTON COUNTY, TEXAS,                             §
                                                  §
          Defendants.                             §     DENTON COUNTY, TEXAS


                               PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

          COMES NOW, Plaintiff, Stacey Livingston, complaining of Defendants, Hidden Cove

Homeowners’ Association and Denton County, Texas, and files this, her Original Petition, and

would respectfully show the Court the following:

                                I.     DISCOVERY CONTROL PLAN

          1.      Plaintiff intends to conduct discovery under Level 2, pursuant to Texas Rules of

      Civil Procedure 190.1.

                                            II.       PARTIES

          2.      Plaintiff, Stacey Livingston (“Livingston” or “Plaintiff”), is an adult woman and

      resident of Denton County, Texas.

          3.      Defendant, Hidden Cove Homeowners’ Association, Inc. (“HOA” or “Defendant

      HOA”) is an active Texas corporation that may be served by and through its registered agent

      for service of process, Spectrum Association Management of Texas, LLC at 17319 San

      Pedro, Suite 318, San Antonio, TX 78232.

PLAINTIFF’S ORIGINAL PETITION                                                                  Page 1
 Case
  Case4:22-cv-00868-SDJ
       4:22-cv-00868 Document
                        Document
                              1-4 2 Filed
                                     Filed10/10/22
                                           10/11/22 Page
                                                     Page2 2ofof1010PageID
                                                                     PageID#:#:1139




      4.      Defendant, Denton County, Texas (“the County”) is a governmental entity duly

  organized and existing under the laws of the State of Texas. The County is responsible for

  oversight of the Denton County Sheriff’s Department (“DCSD”). The County may be served

  by and through the Denton County Judge Andy Eads at 1 Courthouse Drive, Suite 3100,

  Denton, TX 76208.

                              III.    VENUE AND JURISDICTION

      5.      Venue is proper in Denton County, Texas pursuant to Texas Civil Practice and

  Remedies Code Sec. 15.002(a)(1) because the events or omissions giving rise to this action

  occurred in Denton County, Texas.

      6.      This Court has jurisdiction over this action because the amount in controversy is

  within the jurisdictional limits of this Court.

      7.      Plaintiff seeks monetary relief over $200,000 but not more than $1,000,000 and a

  demand for judgment for all other relief to which the parties deem themselves entitled.

                               IV.     FACTUAL BACKGROUND

      8.      Plaintiff is a responsible homeowner who has lived within Defendant HOA’s

  neighborhood for approximately 14 years.

      9.      Defendant Ardis has also been a resident within the HOA community for a

  number of years and has exhibited problematic and dangerous behavior throughout his time

  residency within the HOA.

      10.     Defendant HOA was on notice of Ardis’s propensity for violence and for his

  dangerous and racist attitude towards African Americans within the community.

      11.     In fact, neighbors had previously reported Ardis’s troublesome behavior to

  Defendant HOA as concerns for community safety began to take place. Defendant HOA



PLAINTIFF’S ORIGINAL PETITION                                                               Page 2
 Case
  Case4:22-cv-00868-SDJ
       4:22-cv-00868 Document
                        Document
                              1-4 2 Filed
                                     Filed10/10/22
                                           10/11/22 Page
                                                     Page3 3ofof1010PageID
                                                                     PageID#:#:1240




  ignored these concerns and sought to brush them off. This was Defendant HOA’s attitude

  concerning Ardis, despite numerous occasions where Ardis threatened Plaintiff and the

  community.

     12.     On at least one prior occasion, Ardis initiated a dangerous episode of harassment

  against an African American neighbor until the neighbor was forced to relocate away from

  Defendant HOA’s neighborhood.

     13.     On or about January 13, 2021, Plaintiff was inside of her home when she heard a

  loud strike at her front door. Startled at the sudden and violent knock at her door, Plaintiff

  went to her front door, opened the door, and encountered Ardis at her doorstep.

     14.     Plaintiff, who at this point had only ever had minimal contact with Ardis, asked

  Ardis what he was doing at her house.

     15.     Ardis, clearly in distress, responded to Plaintiff with “I’ll fuck your daughter for a

  dollar” and continued to articulate unintelligible words until Plaintiff confronted him and

  asked him to leave her property.

     16.     When told to leave Plaintiff’s property, Ardis responded “shut your nigger

  mouth.”

     17.     Plaintiff again told Ardis to leave her property and was startled when Ardis

  lunged at her through her front door. Plaintiff immediately shut and locked the door before

  retrieving her firearm for her own safety.

     18.     Plaintiff again informed Ardis that he needed to leave her property and never

  return. Ardis left her property while screaming more racial slurs as he walked back towards

  his own home.




PLAINTIFF’S ORIGINAL PETITION                                                                Page 3
 Case
  Case4:22-cv-00868-SDJ
       4:22-cv-00868 Document
                        Document
                              1-4 2 Filed
                                     Filed10/10/22
                                           10/11/22 Page
                                                     Page4 4ofof1010PageID
                                                                     PageID#:#:1341




      19.     Plaintiff called 911 to inform them of what had transpired. Deputies with the

  Denton County Sheriff’s Office responded and although Plaintiff informed them that she felt

  in danger because of Ardis’s statements and actions, the deputies did nothing.

      20.     Approximately two days later, Plaintiff noticed that her internet was unavailable.

  Plaintiff investigated the issue and realized that her property had been vandalized. Plaintiff’s

  internet box had been cut and torn with a knife.

      21.     Plaintiff contacted the sheriff’s office once again. A new deputy was dispatched

  and told Plaintiff that she would need to obtain video footage of the incident. The deputy

  wanted “proof” before filing a criminal trespassing complaint against Ardis.

      22.     Later that same day and after returning to her home, Plaintiff again her a loud

  strike at her door.

      23.     Plaintiff opened her front door and saw spray paint all over her driveway with the

  words “nigger,” “crack hoe,” and “scary nigger” painted across the entire driveway.

      24.     Once again, Plaintiff called law enforcement. As Plaintiff waited for deputies to

  arrive, she witnessed Ardis giving her the middle finger from his home. When deputies

  finally arrived, they witnessed Ardis again try to approach Plaintiff before they decided to

  call for backup.

      25.     Shortly after, deputies approached Ardis at his home to give him a criminal

  trespass citation.

      26.     Due to the dangerous situation she was being subjected to, as well as the racial

  slurs hurled by Ardis, the harassing remarks, and the criminal trespassing on her property,

  Plaintiff decided to book a hotel for the weekend for her safety.




PLAINTIFF’S ORIGINAL PETITION                                                               Page 4
 Case
  Case4:22-cv-00868-SDJ
       4:22-cv-00868 Document
                        Document
                              1-4 2 Filed
                                     Filed10/10/22
                                           10/11/22 Page
                                                     Page5 5ofof1010PageID
                                                                     PageID#:#:1442




     27.      Law enforcement had failed to keep her safe and there was a reasonable

  likelihood, based on Ardis’s past behavior, that Plaintiff would again be put into harm’s way.

     28.      Plaintiff received a call that weekend from her neighbors informing her that Ardis

  was throwing things outside of his home and singing “I am going to kill a nigger.”

     29.      Neighbors contacted law enforcement to report Ardis’s dangerous behavior.

  When deputies arrived and attempted to contact Ardis, they were unable to get him to open

  his door. The deputies then left.

     30.      After the deputies left, Ardis approached his neighbors screaming insults such as

  “You are helping niggers!”

     31.      Plaintiff was also sent video footage by neighbors that showed Ardis walking to

  Plaintiff’s house screaming “She is my nigger bitch and I have to feed my nigger.” Ardis

  could also be seen throwing food onto Plaintiff’s driveway to intimidate her even further.

     32.      Plaintiff again contacted law enforcement to plea for help.

     33.      Deputies arrived on scene and informed Plaintiff that Ardis had not criminally

  trespassed and that there was nothing they could do to address Ardis’s propensity for violent

  behavior.

     34.      One deputy stated to Plaintiff, “Just because you are black, and I am white, does

  not mean anything… I do not think racism has anything to do with Michael’s behavior… this

  is mental illness.”

     35.      Defendant HOA was aware of Ardis’s dangerous propensities. In fact, Ardis had

  previous racially motivated encounters with black residents within Defendant HOA’s

  jurisdiction. Despite this knowledge, Defendant HOA continued to allow Ardis to live within

  its jurisdiction without consequence or rebuke.



PLAINTIFF’S ORIGINAL PETITION                                                             Page 5
 Case
  Case4:22-cv-00868-SDJ
       4:22-cv-00868 Document
                        Document
                              1-4 2 Filed
                                     Filed10/10/22
                                           10/11/22 Page
                                                     Page6 6ofof1010PageID
                                                                     PageID#:#:1543




     36.     Defendant County was also aware of the danger posed by Ardis to Plaintiff but

  failed to take any reasonable measures to ensure Plaintiff’s safety. Defendant County’s lack

  of response contributed to Ardis’s ability to continue to harass and intimidate Plaintiff.

     37.     It was not until weeks later that Ardis was arrested on unrelated weapons charges

  that the danger to Plaintiff and the community were removed. Although local authorities

  failed to take proactive measures to protect Plaintiff and the community, the Federal Bureau

  of Investigation launched an investigation into these incidents as a hate crime.

     38.     Ardis is currently serving a prison sentence for aggravated assault with a deadly

  weapon and cyberstalking.

                                  V.     CAUSES OF ACTION

                                   Count I — Negligence
                              Plaintiff against Defendant HOA

     39.     Plaintiff incorporates by reference all previous paragraphs as if fully set forth

  herein.

     40.     Defendant HOA owed Plaintiff and the community a legal duty to protect her

  from the harm and injuries she suffered, which ultimately resulted in causing Plaintiff great

  mental anguish and emotional distress.

     41.     Defendant HOA had a duty to provide for the safety and well-being of Plaintiff

  and the community in its neighborhood.

     42.     Defendant HOA had a duty to resolve the ongoing issues of harassment, trespass,

  and violence by Ardis that it was on notice of.

     43.     Plaintiff and neighbors within the HOA community reported Ardis to Defendant

  HOA on several occasions. However, Defendant HOA never investigated or attempted to aid

  Plaintiff in resolving the ongoing issues with Ardis.

PLAINTIFF’S ORIGINAL PETITION                                                                  Page 6
 Case
  Case4:22-cv-00868-SDJ
       4:22-cv-00868 Document
                        Document
                              1-4 2 Filed
                                     Filed10/10/22
                                           10/11/22 Page
                                                     Page7 7ofof1010PageID
                                                                     PageID#:#:1644




     44.     Plaintiff has suffered damage in that she continued to fear for her safety while

  Ardis resided in her neighborhood and when Defendant HOA failed to provide for a safe

  environment within the community. Plaintiff has suffered from extreme mental anguish and

  emotional distress as a proximate result of Defendant’s negligence.

                      Count II – Breach of Restrictive Covenants and Bylaws
                                 Plaintiff against Defendant HOA

     45.     Plaintiff incorporates by reference all previous paragraphs as if fully set forth

  herein.

     46.     The conduct alleged above amounts to breach of the restrictive covenants and

  bylaws binding the HOA and property owners, including Plaintiff.

     47.     HOA owed Plaintiff a duty to protect her from the harm and injuries she suffered,

  and the nuisance and harassment she endured by her neighbor, Michael Ardis.

     48.     HOA breached this duty, and by and through its failure to address the nuisance

  and harassment from Michael Ardis, Plaintiff has suffered damages.

                  Count III – Claims Pursuant to the Fourteenth Amendment
                          Plaintiff against Defendant Denton County

     49.     Plaintiff incorporates by reference all previous paragraphs as if fully set forth

  herein.

     50.     The facts outlined above demonstrate violations of Plaintiff’s civil rights pursuant

  to the Due Process Clause of the Fourteenth Amendment to the United States Constitution.

     51.     The acts and/or omissions of employees and agents of Denton County evidence a

  failure of the County to provide adequate training and supervision to employees and staff, thus

  violating the rights of Plaintiff pursuant to the Due Process Clause of the Fourteenth

  Amendment for which the County is liable.


PLAINTIFF’S ORIGINAL PETITION                                                               Page 7
 Case
  Case4:22-cv-00868-SDJ
       4:22-cv-00868 Document
                        Document
                              1-4 2 Filed
                                     Filed10/10/22
                                           10/11/22 Page
                                                     Page8 8ofof1010PageID
                                                                     PageID#:#:1745




     52.     Denton County discriminated against Plaintiff by ignoring her pleas for help and

  ignoring the obvious racist context of the multiple incidents of assault and harassment she

  was a victim of.

     53.     Denton County discriminated against Plaintiff as a class-of-one in failing to keep

  her safe and against violating her rights under the Equal Protection Clause of the Fourteenth

  Amendment.

     54.     As a result, the County violated the Equal Protection Clause of the Fourteenth

  Amendment for which the County is likewise liable under 42 U.S.C. § 1983.

                                         VI.    DAMAGES

     55.     As a direct and proximate result of the acts outlined above, Plaintiff has been

  damaged. Defendants’ conduct has caused severe injury to the Plaintiff. Furthermore, she has

  suffered economic loss, emotional and mental anguish, and pain and suffering due to the

  negligent acts of the Defendants.

     56.     Plaintiff seeks compensatory damages to compensate her for her damages, which

  include injuries, mental anguish, and pain and suffering, both past and future.

     57.     Plaintiff has retained the services of the undersigned attorney and claims

  entitlement to an award of reasonable and necessary attorney’s fees.

                            VII.    REQUEST FOR DISCLOSURES

     58.     Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Defendants are

  requested to disclose, within fifty (50) days of service of this Petition, the information or

  material as described in Rule 194.2.

                                      VIII. TRIAL BY JURY

     59.     Plaintiff respectfully requests trial by jury.



PLAINTIFF’S ORIGINAL PETITION                                                                Page 8
  Case
   Case4:22-cv-00868-SDJ
        4:22-cv-00868 Document
                         Document
                               1-4 2 Filed
                                      Filed10/10/22
                                            10/11/22 Page
                                                      Page9 9ofof1010PageID
                                                                      PageID#:#:1846




                                    IX.     PRESERVING EVIDENCE

        60.     Plaintiff requests and demand that the Defendants preserve and maintain all

    evidence pertaining to any claim or defense related to the incident made the basis of this

    lawsuit or the damages resulting therefrom, including statements, photographs, videotapes,

    audiotapes, surveillance or security tapes or information, business or medical records,

    incident reports, tenant files, periodic reports, financial statements, bills, telephone call slips

    or records, estimates, invoices, checks, measurements, correspondence, facsimiles, email,

    voice mail, text messages, and any electronic image or information related to the referenced

    incident or damages.

        61.     Failure to maintain such items will constitute “spoliation” of the evidence.

                                            X.      PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants be cited

to appear and answer herein and that upon final trial and other hearing of this cause, Plaintiff

recover damages from Defendants for all damages described herein, including general damages,

punitive damages, and special damages in accordance with the evidence, including economic

damages, non-economic damages and exemplary damages as the jury deems them deserving;

that Plaintiff recover costs of court herein expended; that Plaintiff recover interest to which she is

justly entitled under the law, both prejudgment and post judgment; and for such other further

relief, both general and special, both in law and in equity, to which Plaintiff may be justly

entitled.

                                                 Respectfully Submitted,

                                                 /s/ Blerim Elmazi
                                                 Blerim Elmazi, Esq.
                                                 State Bar No. 24118375
                                                 THE LAW OFFICES OF BLERIM ELMAZI

PLAINTIFF’S ORIGINAL PETITION                                                                    Page 9
Case
 Case4:22-cv-00868-SDJ
      4:22-cv-00868 Document
                       Document
                             1-4 2 Filed
                                    Filed10/10/22
                                          10/11/22 Page
                                                    Page1010ofof1010PageID
                                                                     PageID#:#:1947




                                      8111 LBJ Freeway, Suite 790
                                      Dallas, TX 75251
                                      Telephone: (817) 438-0123
                                      Blerim@ElmaziLaw.com


                                      /s/ Shayan Elahi
                                      Shayan Elahi, Esq.
                                      State Bar No. 24080485
                                      ELAHI LAW & MEDIATION FIRM
                                      8111 LBJ Freeway, Suite 655
                                      Dallas, TX 75251
                                      Telephone: (972) 765-6715
                                      Shayan@ElahiLawFirm.com

                                      ATTORNEYS FOR PLAINTIFF




PLAINTIFF’S ORIGINAL PETITION                                                Page 10
